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                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF UTAH , SOUTHERN DIVISION

    FRIENDS OF CEDAR MESA,                                        ORDER GRANTING JOINT
                                                                  MOTION TO VACATE ORDER TO
              Plaintiff,                                          PROPOSE SCHEDULE

    v.                                                            Case No. 4:19-cv-00013-DN-DBP

    U.S. DEPT. OF THE INTERIOR et al.,                            District Judge David Nuffer

              Defendants.                                         Magistrate Judge Dustin B. Pead



             Based on the Parties’ Joint Motion to Vacate the Order to Propose Schedule, 1 and for

good cause appearing;

             IT IS HEREBY ORDERED that the Joint Motion to Vacate the Order to Propose

Schedule 2 is GRANTED and the Order to Propose Schedule 3 is vacated; and that the case shall

proceed in accordance with DUCivR 7-4.


             Dated March 12, 2019

                                                       BY THE COURT:


                                                       ________________________________________
                                                       Dustin B. Pead
                                                       United States Magistrate Judge




1
    Joint Motion to Vacate Order to Propose Schedule, docket no. 14, filed March 12, 2019.
2
    Id.
3
    Order to Propose Schedule, docket no. 13, filed February 8, 2019.
